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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                            CRIMINAL ACTION


VERSUS                                                              NO: 13-198


JESSIE SMITH                                                        SECTION: "C"


                                            ORDER

       Before the Court is the government’s Motion in Limine to admit Yolanda Smith's post-arrest

statement for a limited, non-hearsay purpose . Rec. Doc. 288. The defendant, Jessie Smith has filed

an opposition. Rec. Doc. 301. Having considered the facts, the memoranda of counsel, and the law,

the Court finds that the Motion in Limine is DENIED.

       Yolanda Smith and Jessie Smith, spouses, were jointly indicted for conspiring to import and

distribute methylone. Rec. Doc. 127. After a controlled delivery was made to Ms. Smith, she was

arrested and made statements, including a recorded statement, to the arresting officers. Rec. Doc.

175-1 at 1-2. Ms. Smith's statements incriminated Mr. Smith. Id. at 2. The government indicted that

it would seek to introduce Ms. Smith's statements in the joint trial of Mr. and Ms. Smith. Id. An

unopposed motion was filed by Mr. Smith to sever his trial from Ms. Smith, pursuant to Federal

Rules of Criminal Procedure 14(a) and the rule announced in Bruton v. United States, 391 U.S. 123,

137 (1968). This Court granted the severance on August 22, 2014. Rec. Doc. 194.

       The government's current motion in limine seeks to admit Ms. Smith's post-arrest statement

"for a limited non-hearsay purpose: to corroborate the expected testimony of Alvin Phillips." Rec.
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Doc. 288-1 at 1. Specifically, the government avers that the "statement would not be adduced for

the truth of the matter asserted, not would it be admitted as a prior consistent statement under

Federal Rule of Evidence 801(d)(1)(B). Id. at 6. Mr. Smith has filed a response in which he opposes

the admittance of his wife's post-arrest statement. Rec. Doc. 301.

       The United States Constitution guarantees that "in all criminal prosecutions, the accused

shall enjoy the right ... to be confronted with the witnesses against him." U.S. CONST. amend. VI.

"The Confrontation Clause generally bars witnesses from reporting the out-of-court-statements of

nontestifying declarants." Taylor v. Cain, 545 F.3d 327, 335 (5th Cir. 2008). The exception to this

general rule is when the declarant is unavailable as a witness and the defendant had an earlier

opportunity to cross-examine the declarant. See Crawford v. Washington, 541 U.S. 365 (2006).

Here, Mr. Smith's attorney has not had the opportunity to cross-examine Ms. Smith and the Court

has been notified that if Ms. Smith were to be called to testify, she plans on invoking her Fifth

Amendment and spousal privileges. Rec. Doc. 301 at 2. Under these circumstances, Ms. Smith's

post-arrest statement is not admissible as evidence of substantive guilt in Mr. Smith's trial.

       The government contends that the statement may be used to rehabilitate a co-conspirator's

testimony after cross-examination. Rec. Doc. 288-1 at 6. Alvin Phillips was a witness in Ms. Smith's

trial and is expected to be called as a witness by the government in Mr. Smith's trial. Mr. Phillips

was indicted for the same conspiracy and has plead guilty, although there was no plea agreement.

Rec. Doc. 117. The government is attempting to admit Ms. Smith's statement to "rehabilitate and

corroborate" Mr. Phillips' potential testimony at Mr. Smith's trial. Rec. Doc. 288-1 at 6.

       However, this type of maneuvering to use a statement that directly incriminates a defendant

to "corroborate" a government witness, has been rejected by the Fifth Circuit. In Taylor v. Cain, the

Fifth Circuit held that a "[p]olice officer cannot, through their trial testimony refer to the substance

of statements given to them by nontestifying witnesses in the course of their investigation, when
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those statements inculpate the defendant." 545 F.3d 327, 335 (5th Cir. 2008). Further, in Jones v.

Cain, the Fifth Circuit held that without fitting into a hearsay exception, a statement from a non-

testifying declarant must bear "particularized guarantees of trustworthiness" to survive

Confrontation Clause implications. 600 F. 3d 527, 538 (5th Cir. 2010), quoting Ohio v. Roberts, 448

U.S. 56, 66, 100 S. Ct. 2531, 65 L.Ed.2d 597 (1980). When the declarant's statement "'inculpate[s]

another' to non-undercover police personnel after a crime, 'there always exists the strong possibility

that the declarant has the desire to shift or spread blame, curry favor, avenge himself, or divert

attention to another.'" Jones v. Cain, 600 F. 3d at 538, quoting United States. v Flores, 985 F.2d

770, 780 (5th Cir. 1993).       Ms. Smith's statement cannot be admitted to "rehabilitate" or

"corroborate" Mr. Phillips expected testimony and potential attack on cross-examination without

raising Confrontation Clause issues.

       For the reasons set forth above,

       IT IS ORDERED that the government's Motion in Limine to Admit Yolanda Smith's Post-

Arrest Statement is DENIED.

       New Orleans, Louisiana, this 8th day of April, 2015




                                                      ______________________
                                                      HELEN G. BERRIGAN
                                                      UNITED STATES DISTRICT JUDGE




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